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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

STATE OF TEXAS, TEXAS                    §
COMMISSION ON                            §
ENVIRONMENTAL QUALITY,                   §
RAILROAD COMMISSION OF                   §
TEXAS, TEXAS DEPARTMENT OF               §
AGRICULTURE, TEXAS GENERAL               §
LAND OFFICE, and TEXAS                   §
DEPARTMENT OF                            §
TRANSPORTATION                           §
                                         §
        Plaintiffs,                      §
                                         §
v.                                       §       Civil Action No. 3:23-cv-17
                                         §
U.S. ENVIRONMENTAL                       §
PROTECTION AGENCY; MICHAEL               §
S. REGAN, in his official capacity as    §
ADMINSTRATOR OF U.S.                     §
ENVIRONMENTAL PROTECTION                 §
AGENCY; U.S. ARMY CORPS OF               §
ENGINEERS; LIEUTENANT                    §
GENERAL SCOTT A. SPELLMON, in            §
his official capacity as CHIEF OF        §
ENGINEERS AND COMMANDING                 §
GENERAL, U.S. ARMY CORPS OF              §
ENGINEERS; and MICHAEL L.                §
O’CONNOR, in his official capacity       §
as the ASSISTANT SECRETARY OF            §
THE ARMY (CIVIL WORKS)                   §
                                         §
        Defendants,                      §
                                         §
BAYOU CITY WATERKEEPER                   §
    Applicant-Intervenor-                §
    Defendant.

ORDER GRANTING APPLICANT-INTERVENOR-DEFENDANT’S MOTION
                     TO INTERVENE
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      Pending before the Court is Applicant-Intervenor-Defendant’s Motion to

Intervene. Pursuant to Fed. R. Civ. P. 24, Applicant-Intervenor-Defendant, Bayou

City Waterkeeper, Inc. satisfied all elements required for intervention as of right

and for permissive intervention.

      After reviewing the Motion, the Response, the record and the applicable law,

the Court GRANTS Applicant-Intervenor-Defendant’s Motion to Intervene.



      SIGNED on Galveston Island this ____ day of ___________, 20_____.



                                         ___________________________

                                             JEFFREY VINCENT BROWN
                                         UNITED STATES DISTRICT JUDGE
